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
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 CO., LTD., SAMSUNG ELECTRONICS
   AMERICA, INC. and SAMSUNG
 TELECOMMUNICATIONS AMERICA, LLC

                         UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION


 APPLE INC., a California corporation,        CASE NO. 11-cv-01846-LHK
                Plaintiff,                    DECLARATION OF MICHAEL J.
                                                WAGNER IN SUPPORT OF SAMSUNG’S
         vs.                                  OPPOSITION TO APPLE’S MOTION
                                                FOR SUPPLEMENTAL DAMAGES AND
 SAMSUNG ELECTRONICS CO., LTD., a             PREJUDGMENT INTEREST
   Korean business entity; SAMSUNG
 ELECTRONICS AMERICA, INC., a New
   York corporation; SAMSUNG
 TELECOMMUNICATIONS AMERICA,
   LLC, a Delaware limited liability company,

                 Defendants.


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                                                                Case No. 11-cv-01846-LHK
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 1          I, Michael J. Wagner, hereby declare as follows:

 2                                             BACKGROUND
 3
            1.       I am currently a Managing Director at LitiNomics, Inc., a financial and economic
 4
     consulting firm specializing in the analysis of economic issues that arise in commercial disputes.
 5
            2.       I am a Certified Public Accountant and attorney licensed in the State of California.
 6
     I have been a Partner at Price Waterhouse; a Managing Director at Putnam, Hayes & Bartlett; and
 7
     a Senior Advisor at CRA International, a publicly traded management consulting firm.         I have a
 8
     Bachelor of Science in Engineering, which I received from the University of Santa Clara in 1969.
 9
     I have a Masters in Business Administration, which I received from U.C.L.A. in 1971.         I have a
10
     Juris Doctor degree, which I received from Loyola University School of Law at Los Angeles in
11
     1975. Exhibit A is a true and correct copy of my curriculum vitae.
12
            3.       I have specialized in the computation of commercial damages over the last 39 years
13
     of my professional career.     I have been qualified and testified at trial as an expert on financial
14
     matters, principally commercial damages, 139 times, including Lanham Act cases and patent cases
15
     (42 times in patent cases).     I have testified on financial issues in 36 arbitrations. I also have
16
     been deposed 344 times (122 times in patent cases; more than 10 times in trademark or Lanham
17
     Act cases) on financial issues over my career.
18
            4.       I have 31 professional publications, the majority of which deal with the
19
     computation of commercial damages (ten deal directly with patent damages).                 My most
20
     significant publication is the Litigation Services Handbook, which I co-edited through its fourth
21
     edition.    The book is a collaborative effort of many of the leading experts in the financial area. I
22
     am the founding editor and continued as an editor for over 20 years. The Handbook has been
23
     recognized as authoritative by the Federal Judicial Center in its Treatise on Scientific Evidence.
24
     The Treatise’s chapter on Economic Damages in the first two editions cited only five additional
25
     reference sources for further guidance to federal judges.     The Litigation Services Handbook was
26
     one of the five reference sources.
27

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 1          5.      In the above-captioned case, Apple Inc. v. Samsung Electronics Co., Ltd., et al., I

 2 previously submitted several declarations, including a Declaration of Michael J. Wagner in

 3 Support of Samsung’s Opposition to Apple’s Motion for a Preliminary Injunction and a

 4 Declaration of Michael J. Wagner in Support of Samsung’s Motion for Judgment as a Matter of

 5 Law, New Trial, and/or Remittitur Pursuant to Federal Rules of Civil Procedure 50 and 59. I

 6 have also submitted expert reports, including my April 20, 2012 Corrected Expert Report of

 7 Michael J. Wagner; my May 11, 2012 Supplemental Expert Report of Michael J. Wagner; my

 8 August 26, 2013 Updated Rebuttal Expert Report of Michael J. Wagner for New Trial on

 9 Damages; and my November 6, 2015 Rebuttal Expert Report of Michael J. Wagner for Third Trial

10 on Damages.       I also testified at the August 2012 trial and at the November 2013 retrial on

11 damages.

12          6.      I submit this declaration in support of Samsung’s Opposition to Apple’s Motion for

13 Supplemental Damages and Prejudgment Interest.          If asked at a hearing or trial, I am prepared to

14 testify regarding the matters I discuss in this declaration.

15          7.      I am being compensated at $795 per hour for my work on this case.                  My

16 compensation is in no way contingent upon the opinions I arrive at or the result of the litigation.

17          8.      In performing my analysis, I have reviewed the Court’s March 1, 2013 Order RE:

18 Damages, the August 24, 2012 Amended Verdict Form, the November 21, 2013 Verdict Form,

19 Samsung’s Supplemental Damages Statement, and Apple’s Motion for Supplemental Damages

20 and Prejudgment Interest.      I also attended most of the original trial and retrial on damages, and I

21 have also reviewed trial transcripts, trial demonstratives and exhibits, as well as publicly available

22 documents discussed in this declaration. I also reviewed the post-verdict sales information

23 produced by Samsung at the Court’s direction.

24          9.      In addition to the review of documents listed above, I have relied on my training as

25 a Certified Public Accountant and my knowledge and expertise regarding intellectual property

26 litigation damages.

27

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 1          10.     I may supplement this declaration in the event that additional relevant materials are

 2 provided to me, including court filings and declarants’ testimony.

 3                                    SUPPLEMENTAL DAMAGES
 4
            11.     I understand that the parties agree that there are five products for which
 5
     supplemental damages should be awarded: Galaxy S II Epic 4G Touch, Galaxy S II Skyrocket,
 6
     Galaxy S II T-Mobile, Droid Charge, and Galaxy Prevail.
 7
            12.     In calculating supplemental damages, I have assumed that Apple is only entitled to
 8
     supplemental damages for products that infringe its patents. Samsung has provided detailed
 9
     information regarding its alternative designs for Apple’s patents (Dkt. 3307), and given the lack of
10
     contrary evidence, I have accepted this information as true. My understanding is that products
11
     incorporating these alternative designs do not give rise to supplemental damages. Thus my
12
     calculations only provide supplemental damages for products found to infringe at least one Apple
13
     patent that have not incorporated these alternative designs.
14
            13.     I understand that the Court’s March 1, 2013 Order RE: Damages held that it would
15
     be appropriate to calculate a per-unit supplemental damages amount by dividing the jury award for
16
     a given product by the number of sales of that product encompassed within the jury award.     I also
17
     understand that the Court’s order held that the supplemental damages period would begin on
18
     August 25, 2012.
19
            14.     I have calculated the per-unit supplemental damages amounts consistent with the
20
     Court’s Order in Exhibit B. A summary chart follows. I understand that the parties agree on
21
     these calculations.   Although these numbers appear here in rounded form, the full per unit
22
     numbers, without rounding, were used in my calculation of supplemental damages.
23                                                         Unit Sales June     Damages Per
24    Product                         Jury Award          2010 - June 2012    Unit (Rounded)
      Droid Charge                        $60,706,020
25    Galaxy Prevail                      $22,143,335
      Galaxy S II T-Mobile                $83,791,708
26    Galaxy S II Epic 4G Touch         $100,326,988
27    Galaxy S II Skyrocket               $32,273,558

28
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 1           15.    Calculation of the appropriate amount of supplemental damages for infringing

 2 products is attached as Exhibit B.         What follows is a summary and explanation of my

 3 calculations for each product.

 4
                                           Galaxy S II Skyrocket
 5
             16.    I understand that a black-faced version of the Galaxy S II Skyrocket was found to
 6
     infringe only the D’677 patent at trial (Dkt. 1931). I further understand that white-faced versions
 7
     of the Skyrocket have been sold since November 23, 2011 (Dkt. 3307, p. 4). As I understand that
 8
     white-faced phones do not infringe the D’677 patent, I only calculate supplemental damages for
 9
     Skyrocket phones with a black face.
10
             17.    According to Samsung’s sales data,             units of black-faced Skyrockets were
11
     sold after the August 24, 2012 verdict.       At a per unit supplemental damages amount of
12
                         , this results in supplemental damages of $2,975,307 (Exhibit B, Schedule
13
     3.1).
14                                         Galaxy S II Skyrocket
15    Front Face         Patents      Basis for Award Per Unit           Number of       Supplemental
      Color              Infringed                        Rate           Units           Damages
16    Black              D’677        Infringer’s Profits                                $2,975,307
      White              None         None                None                           $0
17

18                                      Galaxy S II Epic 4 G Touch
19           18.    I understand that a black-faced version of the Galaxy S II Epic 4G Touch was
20 found to infringe only the D’677 patent (Dkt. 1931).     I also understand that white-faced versions
21 of the Epic 4G Touch were introduced by Samsung on December 14, 2011 (Dkt. 3307, p. 4), and

22 steel-gray-faced versions were introduced on October 30, 2012 (Dkt. 3307, p. 4).               As I
23 understand that white-faced and steel-gray-faced phones do not infringe the D’677 patent, I only

24 calculate supplemental damages for Epic 4G Touch phones with a black face.

25           19.   According to Samsung’s sales data,              units of Epic 4G Touch devices with
26 black front faces were sold after the verdict. At a per unit supplemental damages amount of

27

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 1                        , this results in supplemental damages of $13,017,292 (Exhibit B, Schedule

 2 3.1).
                                         Galaxy S II Epic 4G Touch
 3
      Front Face      Patents         Basis for Award Per Unit Number of              Supplemental
 4    Color           Infringed                           Rate     Units              Damages
      Black           D’677           Infringer’s Profits                             $13,017,292
 5    White           None            None                None                        $0
 6    Steel Gray      None            None                None                        $0

 7
                                             Galaxy S II T-Mobile
 8
               20.   I understand that the jury found a Galaxy S II T-Mobile with a black front face
 9
     infringed the D’677, ‘915, and ‘163 patents (Dkt. 1931).    I also understand that white-faced and
10
     steel-gray-faced versions for this phone were released on December 13, 2011 and November 12,
11
     2012, respectively (Dkt. 3307, p. 4).
12
               21.   As I understand that white-faced and steel-gray-faced phones do not infringe the
13
     D’677 patent, I only calculate supplemental damages relating to the D’677 patent for T-Mobile
14
     phones with a black face.     Samsung’s sales data show that             units of the black-faced
15
     Galaxy S II T-Mobile were sold during the supplemental damages period.        At a per unit rate of
16
                          , this results in supplemental damages of $8,330,716 (Exhibit B, Schedule
17
     3.1).
18
               22.   I understand that Samsung’s alternative design for the ‘163 patent was
19
     implemented in the Galaxy S II T-Mobile on July 13, 2012 (Dkt. 3307, p. 3), and that all post-
20
     verdict sales of the Galaxy S II T-Mobile phones included the alternative design (Dkt. 3307, p. 4).
21
     As such, I have not calculated supplemental damages for Galaxy S II T-Mobile sales for the ‘163
22
     patent.
23
               23.   I understand that Samsung’s alternative design for the ‘915 patent was first
24
     introduced in the Galaxy S II T-Mobile on October 26, 2012 (Dkt. 3307, p. 3).      Although some
25
     black-faced Galaxy S II T-Mobiles may have been sold after the date the verdict was entered
26
     without the ‘915 alternative design, these sales are accounted for in the supplemental damages for
27

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 1 the           units calculated in paragraph 21. Thus, no additional supplemental damages are

 2 necessary for the black-faced Galaxy S II T-Mobile phones for the ‘915 patent.

 3         24.     I understand that all steel-gray-faced versions of the Galaxy S II T-Mobile included

 4 Samsung’s alternative design for the ‘915 patent (Dkt. 3307, p. 4).      As such, I understand that

 5 Apple is not entitled to supplemental damages for steel-gray-faced versions of the Galaxy S II T-

 6 Mobile sales for the ‘915 patent.

 7         25.     I understand that all sales of the white-faced versions of the Galaxy S II T-Mobile

 8 phones after November 2, 2012 included the ‘915 alternative design (Dkt. 3307, p. 4). Based on

 9 Samsung’s sales data, this means that            units of the white-faced Galaxy S II T-Mobile were

10 sold without the ‘915 alternative design (between August 24, 2012 and November 2, 2012).

11 Therefore, I have calculated supplemental damages for these sales.          For these sales, I have

12 applied a per unit rate of          because infringer’s profits cannot be awarded for utility patent

13 infringement—the             per unit rate discussed above is calculated based on the jury’s award of

14 Samsung’s profits for the Galaxy S II T-Mobile.           Thus, supplemental damages should be

15 awarded based on a reasonable royalty.        At trial, I understand that Apple sought a royalty of

16         for the ‘915 patent (PX 25A1).     However, I understand that the Court’s March 1, 2013

17 Order RE: Damages found that the jury in fact awarded only            of Apple’s claimed reasonable

18 royalties for the phones on which reasonable royalties were awarded by the jury (Dkt. 2271, pp. 9-

19 10).

20                                                               .   When applied to the           sales

21 of white-faced Galaxy S II T-Mobile devices without the ‘915 alternative design, this results in

22 additional supplemental damages of $229,352, which should be added to those calculated in

23 paragraph 21 (Exhibit B, Schedule 3.1).

24

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                                              Galaxy S II T-Mobile
 1
      Front Face          Patents          Basis for Award     Per Unit       Number     Supplemental
 2    Color/Version       Infringed                            Rate           of Units   Damages
      Black               D’677, ‘915      Infringer’s Profits                           $8,330,716
 3    White               ‘915             Reasonable Royalty                            $229,352
 4    White (with ‘915    None             None                None                      $0
      design around)
 5    Steel Gray          None             None                  None                    $0
 6
            26.     Note that the ‘915 patent per unit supplemental damages amount for the Galaxy S
 7
     II T-Mobile is different from the per unit amount for the ‘915 patent for the Droid Charge and
 8
     Galaxy Prevail, discussed below.      This is because the Galaxy S II T-Mobile phone was not at
 9
     issue in the 2013 retrial on damages, where the jury awarded          of Apple’s claimed reasonable
10
     royalty damages, as opposed to the           awarded by the first jury. This results in a higher per
11
     unit supplemental damages amount for the ‘915 patent that is applied to the products that were
12
     part of the retrial on damages.
13
                                                  Droid Charge
14
            27.     I understand that the jury found a Droid Charge to infringe the D’305, ‘381, ‘915,
15
     and ‘163 patents (Dkt. 1931). I understand that all post verdict sales of the Droid Charge
16
     included an alternative design for the D’305 patent (Dkt. 3307, p. 3).    Thus, I have not calculated
17
     supplemental damages for the D’305 patent on these sales.
18
            28.     I understand that all post-verdict sales of the Droid Charge included the alternative
19
     design for the ‘381 patent (Dkt. 3307, p. 3).    Thus, I have not calculated supplemental damages
20
     for the ‘381 patent on these sales.
21
            29.     I also understand that all post-verdict sales of the Droid Charge included the
22
     alternative design for the ‘163 patent (Dkt. 3307, p. 3).          As such, I have not calculated
23
     supplemental damages for the ‘163 patent on these sales.
24
            30.     The implementation of Samsung’s alternative designs discussed above means that
25
     only the ‘915 patent can provide a basis for supplemental damages for the Droid Charge.             I
26
     understand that the ‘915 alternative design was not implemented for the Droid Charge.               I
27
     understand the jury awarded Samsung’s profits for the Droid Charge in the original trial and the
28
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 1 retrial on damages based on infringement of the D’305 patent.     Given the ‘915 patent is the only

 2 patent that provides a basis for supplemental damages for the Droid Charge, supplemental

 3 damages should be awarded based on a reasonable royalty. As such, I have applied the              per

 4 unit reasonable royalty that Apple asked for and was awarded (Dkt. 2947, p. 4) for the ‘915 patent

 5 in the 2013 retrial on damages.     Samsung’s sales data show that there were             post-verdict

 6 sales of the Droid Charge.    Applying the per unit supplemental damages amount of            to these

 7 sales results in supplemental damages of $25,538 (Exhibit B, Schedule 3.1).
                                              Droid Charge
 8
    Product           Patents      Basis for Award     Per Unit      Number of            Supplemental
 9 Version            Infringed                        Rate          Units                Damages
    Droid Charge ‘915              Reasonable Royalty                                     $25,538
10

11                                            Galaxy Prevail
12           31.   I understand that a Galaxy Prevail was found to infringe the ‘381, ‘915, and ‘163
13 patents (Dkt. 1931).    I also understand that Samsung implemented alternative designs for the
14 ‘381 and ‘163 patents on November 21, 2011 and August 23, 2012 respectively, and that all

15 Galaxy Prevail phones sold after the verdict implemented these alternative designs for the ‘381

16 and ‘163 patents (Dkt. 3307, p. 2). As such, I have not calculated supplemental damages on sales

17 of the Galaxy Prevail for infringement of the ‘381 or ‘163 patents.

18           32.   I understand that the ‘915 alternative design was not implemented for the Galaxy
19 Prevail.    Therefore, I have calculated supplemental damages for the Galaxy Prevail for the ‘915
20 patent.    According to Samsung’s sales data, there were              post-verdict sales of the Galaxy
21 Prevail.    I have applied the        per unit reasonable royalty that Apple asked for and was
22 awarded (Dkt. 2947, p. 4) for the ‘915 patent in the 2013 retrial on damages.        Applying the per
23 unit supplemental damages amount of           results in a supplemental damages amount of $84,444
24 (Exhibit B, Schedule 3.1).

25                                            Galaxy Prevail
     Product           Patents      Basis for Award      Per Unit           Number of     Supplemental
26   Version           Infringed                         Rate               Units         Damages
     Galaxy Prevail    ‘915         Reasonable Royalty                                    $84,444
27

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 1                                     Total Supplemental Damages

 2          33.     The total amount of supplemental damages is calculated simply by adding all of the

 3 awards calculated above.     This results in a total supplemental damages amount of $24,662,650

 4 (Exhibit B, Schedule 3).

 5                                    Total Supplemental Damages
 6                                                                                    Supplemental
             Product              D’677        D’305    ‘381      ‘915      ‘163        Damages
 7    Galaxy S II Skyrocket     $2,975,307      $0       $0        $0        $0        $2,975,307
      Galaxy S II Epic 4G
 8                              $13,017,292     $0       $0        $0        $0       $13,017,292
      Touch
      Galaxy S II (T-Mobile)     $8,330,716     $0       $0     $229,352     $0        $8,560,069
 9    Droid Charge                   $0         $0       $0      $25,538     $0         $25,538
10    Galaxy Prevail                 $0         $0       $0      $84,444     $0         $84,444
      Total                     $24,323,316     $0       $0     $339,334     $0        $24,662,650
11

12                                   PREJUDGMENT INTEREST
13
            34.     I understand that the Court has found that an award of prejudgment interest is
14
     appropriate in this case, and has stated that it will award prejudgment interest at the 52-week
15
     Treasury Bill Rate, compounded annually. I have calculated the appropriate prejudgment interest
16
     on the supplemental damages in Exhibit B (Schedule 1.1).
17
            35.     I also understand that Apple has offered a prejudgment interest calculation
18
     provided by Ms. Julie Davis.   Based on my review of Ms. Davis’s calculations, it appears that we
19
     apply the same methodology.       We both calculate prejudgment interest using the 52-week
20
     Treasury Bill Rate through the hearing date on Apple’s motion for supplemental damages (March
21
     24, 2016) with a per diem amount thereafter. The 52-week Treasury Bill Rate from December
22
     2015 to March 2016 is held constant from November 2015 to be consistent with Ms. Davis’s
23
     methodology.     The only difference between our prejudgment interest calculations is the
24
     supplemental damages base.
25
            36.     Calculating prejudgment interest on the supplemental damages for only infringing
26
     sales—$24,662,650—results in a prejudgment interest through March 24, 2016 of $174,235, with
27
     a daily addition of $326 thereafter. (Exhibit B, Schedule 1 and Schedule 1.2).
28
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 1         I declare under penalty of perjury of the laws of the United States of America that the

 2 foregoing is true and correct.   Executed in Santa Clara County, California on January 20, 2016.

 3

 4

 5
                                             By: _______________________________________
 6                                                  Michael J. Wagner

 7

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 1                                           ATTESTATION

 2

 3            I, Victoria Maroulis, am the ECF User whose ID and password are being used to file this

 4 Declaration. In compliance with Civil Local Rule 5-1(i), I hereby attest that Michael J. Wagner

 5 has concurred in this filing.

 6
     Dated:    January 20, 2016                     /s/ Victoria Maroulis
 7
                                                    Victoria Maroulis
 8

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